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 Attorneys for Defendant
 Rutgers, The State University of New Jersey

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 K.L., Plaintiff,
                                                  Case No. 3:16-cv-9270-MAS-LHG
                       v.

 RUTGERS, THE STATE UNIVERSITY OF                      DEFENDANT RUTGERS,
 NEW JERSEY, MARQUES FORD, JOHN                    THE STATE UNIVERSITY OF NEW
 BOWERS, ABC, INC. 1-10 (Fictitious                 JERSEY’S NOTICE OF MOTION
 Entities), and JOHN DOES 1-20 (Fictitious            FOR SUMMARY JUDGMENT
 Entities and/or Persons), Defendants,
                                                  Oral Argument Requested
                       and
                                                  Return Date: March 16, 2020
 JOHN BOWERS, Third-Party Plaintiff,
                                                        Document Filed Electronically
                       v.

 CELENE LUSCHER, Third-Party Defendant.

 TO:     Jeffrey P. Fritz, Esq.
         Soloff & Zervanos, PC
         1525 Locust Street, 8th Floor
         Philadelphia, PA 19102
         Attorneys for Plaintiff, K.L.

         PLEASE TAKE NOTICE that on March 16, 2020, at 10:00 a.m., or as soon thereafter

 as counsel may be heard, Defendant Rutgers, The State University of New Jersey (“Rutgers”), by

 its attorneys Saiber LLC, shall move before the Honorable Michael A. Shipp, U.S.D.J., at the

 United States District Court for the District of New Jersey, Clarkson S. Fisher Building & U.S.

 Courthouse, 402 East State Street, Trenton, New Jersey 08608, for an Order granting summary



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 judgment in favor of Rutgers on all counts contained in Plaintiff K.L.’s Amended Complaint that

 are directed to Rutgers (Counts I through V) pursuant to Rule 56 of the Federal Rules of Civil

 Procedure.

         PLEASE TAKE FURTHER NOTICE that, in support of the within motion, Rutgers

 shall rely upon its Local Civil Rule 56.1 Statement of Undisputed Material Facts, its Brief, the

 Declarations of William F. Maderer, Esq., Amy Miele, Jordan Shyi, Jackie Moran, Will

 Gilkison, and Joseph Ray, and Reply papers submitted, if any.

         PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

 herewith.

         PLEASE TAKE FURTHER NOTICE that Rutgers hereby requests oral argument

 pursuant to Local Civil Rule 78.1(b)(1).

                                             Respectfully submitted,

                                             SAIBER LLC
                                             Attorneys for Defendant
                                             Rutgers, The State University of New Jersey

                                             By:    s/ William F. Maderer
                                                    William F. Maderer
                                                    Ryan E. San George

 Dated: February 21, 2020




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